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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-10261 MRW Date October 1, 2021

 

Title A-One Commercial Insurance v. TFI Liner

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER DISMISSING CASE

The parties filed a stipulation to dismiss this case with prejudice. (Docket # 33.) This action is
dismissed with prejudice.

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